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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF MARYLAND

        CHAMBERS OF                                                      101 WEST LOMBARD STREET
  STEPHANIE A. GALLAGHER                                                BALTIMORE, MARYLAND 21201
UNITED STATES DISTRICT JUDGE                                                   (410) 962-7780
                                                                     MDD_SAGchambers@mdd.uscourts.gov




                                                     October 18, 2021


          Re: Carrasco v. M&T Bank
              Civil Case No. SAG-21-532

  Dear Mr. Carrasco:

         This Court is in receipt of your emailed request for a PACER fee exemption, for fees you
  have already incurred. The email is attached to this letter for docketing. Such requests must be
  addressed to the Chief Judge, Judge James K. Bredar, and are presented to the full bench for
  consideration. If you wish to pursue that process, you should submit a written request to Judge
  Bredar, attaching a copy of the PACER statement you are seeking to have exempted.


                                                     Sincerely yours,

                                                             /s/

                                                     Stephanie A. Gallagher
                                                     United States District Judge
